       Case 3:21-cv-05611-JCS Document 14 Filed 09/13/21 Page 1 of 1




1      CENTER FOR DISABILITY ACCESS
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6
                             UNITED STATES DISTRICT COURT
7
                         NORTHERN DISTRICT OF CALIFORNIA
8
9      Andres Gomez,                                      Case: 3:21-cv-05611-JCS
10             Plaintiff,
                                                          Plaintiff’s Notice of Voluntary
11       v.                                               Dismissal With Prejudice
12
       DTG Operations, Inc., a Oklahoma
13     Corporation; The Hertz                             Fed. R. Civ. P. 41(a)(1)(A)(i)
       Corporation, a Delaware
14     Corporation,
15
               Defendants.
16
17         PLEASE TAKE NOTICE that Plaintiff Andres Gomez, hereby
18   voluntarily dismisses the above captioned action with prejudice pursuant to
19   Federal Rule of Civil Procedure 41(a)(1)(A)(i).
20         Defendants have neither answered Plaintiff’s Complaint, nor filed a
21   motion for summary judgment. Accordingly, this matter may be dismissed
22   without an Order of the Court.
23
24   Dated: September 13, 2021                       CENTER FOR DISABILITY ACCESS
25
26                                                   By:      /s/Amanda Seabock
27                                                   Amanda Seabock, Esq.
                                                     Attorneys for Plaintiff
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                  Plaintiff’s Notice of Voluntary Dismissal Without Prejudice Pursuant to
                               Federal Rule of Civil Procedure 41(a)(1)(A)(i)
